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1                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON


2
                                                                     Oct 27, 2021
3                        UNITED STATES DISTRICT COURT                    SEAN F. MCAVOY, CLERK


                        EASTERN DISTRICT OF WASHINGTON
4
     MICHAEL CHRISTIAN                           No. 2:21-cv-00253-SMJ
5    RADVANYI,

6                              Plaintiff,        ORDER DISMISSING ACTION
                                                 FOR FAILURE TO COMPLY
7                 v.                             WITH FILING FEE AND IN
                                                 FORMA PAUPERIS
8    NO NAMED DEFENDANT,                         REQUIREMENTS

9                              Defendant.

10

11         On September 10, 2021, the Court instructed Plaintiff Michael Christian

12   Radvanyi, a prisoner currently detained by Spokane County Detention Services, to

13   provide a completed and properly signed Declaration and Application to Proceed

14   In Forma Pauperis By a Prisoner Bringing a Civil Rights Action Pursuant to 42

15   U.S.C. § 1983, along with a statement of his inmate account for the six months

16   immediately preceding the filing of his Complaint on August 23, 2021. ECF No. 6.

17   These documents are required for a prisoner to proceed without prepayment of the

18   filing fee. See 28 U.S.C. § 1915(a).

19         In the alternative, the Court directed Plaintiff to pay the full $402 filing fee

20   ($350 filing fee, plus $52 administrative fee) to commence this action. Plaintiff has


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1    not remedied the deficiencies of his submissions to this Court and has filed nothing

2    further in this action. Therefore, it appears Plaintiff has abandoned this litigation.

3          Accordingly, for the reasons set forth above and in the Court’s prior Order,

4    IT IS HEREBY ORDERED:

5          1.     This action is DISMISSED without prejudice for failure to comply

6                 with the filing fee and in forma pauperis requirements of 28 U.S.C. §§

7                 1914 and 1915.

8                 A.     The Clerk’s Office is directed to ENTER JUDGMENT and

9                        CLOSE this file.

10         2.     The Court certifies that any appeal of this dismissal would not be taken

11                in good faith and would lack an arguable basis in law or fact.

12         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

13   provide copies to pro se Plaintiff at his last known address.

14         DATED this 27th day of October 2021.

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                         __________________________
16                       SALVADOR MENDOZA, JR.
                         United States District Judge
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     ORDER DISMISSING ACTION FOR FAILURE TO COMPLY WITH FILING
     FEE AND IN FORMA PAUPERIS REQUIREMENTS – 2
